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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


               HIGHLY CONFIDENTIAL-TO BE FILED UNDER SEAL
                      SUBJECT TO PROTECTIVE ORDER



   IN RE THALOMID AND REVLIMID                    Civil No. 14-6997 (MCA) (MAH)
   LITIGATION




    CLASS PLAINTIFFS’ SUPPLEMENTAL REPLY MEMORANDUM IN SUPPORT OF
   MOTION FOR CLASS CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL
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       I.   INTRODUCTION

            Embracing the opportunity to address the issues raised by the Court, Plaintiffs demonstrated

  in their renewed motion that there are various options to account for brand loyalists and flat

  copayers that do not entail denying every other class member the right to recovery. Plaintiffs have

  previously proposed several revised class definitions and offer one new exclusion suggested by

  Celgene’s expert. Further support has been provided for the originally proposed classes, including

  the Injunction Class. 1 Meanwhile, Celgene’s determination to block certification leads it to rehash

  issues already decided by the Court. 2 Plaintiffs seek certification of the proposed classes to ensure

  the broadest group possible is entitled to compensation for the harm caused by Celgene’s conduct. 3

      II.   ARGUMENT

        A. Celgene’s Manufactured Quibbles with the Proposed Alternative Third Party Payor
           Class Cannot Defeat Class Certification

            Plaintiffs demonstrated that a class limited to third party payors (TPPs) meets the

  requirements of Rule 23, specifically addressing the Court’s concerns about brand loyalists and flat

  copay consumers by removing all consumers from a proposed TPP class. In response, Celgene

  makes only two arguments. First,                 hypothesizes that there might be some small TPP

  class member who had the poor luck of insuring only brand loyalists.                              anything

  is possible – but hypothetical possibilities do not defeat class certification. Second, Celgene

  misrepresents Dr. Leitzinger’s opinion, claiming he “conceded” that a PBM actually paid in part for


  1
    Celgene dropped its due process argument, apparently concedes the state law variation issue is
  moot, and paradoxically endorses using the broadest class definition possible. Celgene’s Memo in
  Opp. to Class Pls’ Renewed Mot. for Class Certification (“Def. Supp.”) at 17.
  2
    Class Certification Opinion (Oct. 30, 2018) (ECF No. 250) (“Op.”) at 27-29, 47-50; see also Ex. 135
  (January 4, 2019 letter from Plaintiffs’ counsel to Celgene’s counsel discussing this Court’s opinion).
  3
    On January 14, 2019, the U.S. House Committee on Oversight and Reform announced an
  investigation into the actions of 12 drug companies for “aggressively increasing prices on existing
  drugs” while “recording windfall profits.” Ex. 136, Jan. 14, 2019 Press Release; Ex. 137, Recipient
  List. The Committee is seeking “information and communications on price increases” from Celgene,
  as well as “corporate strategies to preserve market share and pricing power.” Ex. 136.
                                                      1
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   of whether “brand loyalists” are impacted by Celgene’s conduct, Celgene nevertheless maintains that

   the anticompetitive effects of all consumers being denied choices may be ignored because (1) lack of

   choice is somehow not an “antitrust injury”; (2) choice is totally irrelevant to consumers who would

   have ultimately selected the brand; and (3) classwide lack of choice only supports certification of

   Rule 23(b)(2) classes. Celgene is wrong on all three points.

           First, reduced consumer choice is indeed an “antitrust injury, which is to say injury of the

   type the antitrust laws were intended to prevent and that flows from that which makes defendants’

   acts unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). This Court has

   expressly held as much, 29 and Celgene completely ignores two Court of Appeals cases cited by

   Plaintiffs to the same effect. 30 This does not “conflate” the concept of an antitrust violation with a

   plaintiff’s injury, as Celgene wrongly contends, because as Brunswick teaches, a plaintiff’s antitrust

   injury is necessarily linked to a violation’s anticompetitive effects. If a lack of consumer choice is an

   anticompetitive effect – as the law makes clear and as Celgene concedes – then consumers denied

   those choices by definition suffer an antitrust injury.

           Celgene attempts to avoid the straightforward application of this principle by insisting that in

   certain cases where lack of choice was identified as an anticompetitive effect, the plaintiff sought

   damages based on some other measure. But that should be entirely unsurprising, since in those cases

   the plaintiffs were not the consumers deprived of choices, but rather different market participants



   29
      See Motion to Dismiss Opinion (Oct. 29, 2015) (ECF No. 68) (“reduced consumer choice and
   increased price constitute antitrust injury when caused by anti-competitive practices”); Deborah Heart
   & Lung Ctr. v. Penn Presbyterian Med. Ctr., 2011 WL 6935276, at *8 (D.N.J. Dec. 30, 2011) (“even if
   these higher prices were not credited as antitrust injuries, Plaintiff has plausibly alleged meaningful
   competitive harms to consumer choice”); Marchese v. Cablevision Sys. Corp., 2010 WL 3311842, at *2
   (D.N.J. Aug. 18, 2010) (finding “Plaintiff has sufficiently alleged an antitrust injury” for arrangement
   that “harmed Plaintiff and members of the Class by limiting consumer choice”).
   30
      Class Pls’ Supp. Memo in Support of Mot. for Certification (“Pls’ Supp.”) at 9 (citing Ross v. Bank
   of Am., 524 F.3d 217 (2d Cir. 2008); Glen Holly Entm’t, Inc. v. Tektronix, 352 F.3d 367 (9th Cir. 2003)).


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   Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993); see

   also United States v. Virginia, 518 U.S. 515, 542 (1996) (unconstitutional denial of opportunity for

   women to attend Virginia Military Institute even though “most women would not choose VMI’s

   adversative method”); Obergefell v. Hodges, 135 S. Ct. 2584, 2599, 2602 (2015) (upholding “the right to

   personal choice regarding marriage,” noting that “exclusion from that status has the effect of

   teaching that gays and lesbians are unequal in important respects”); Carey v. Population Servs., Int’l, 431

   U.S. 678, 685 (1977) (“The decision whether or not to beget or bear a child is at the very heart of

   this cluster of constitutionally protected choices.”).

           Third , the fact that all consumers are impacted by lack of choice supports certification not

   just of a Rule 23(b)(2) class but a (b)(3) class as well. The court in Laumann v. National Hockey League,

   105 F. Supp. 3d 384 (S.D.N.Y. 2015), granted certification only of a (b)(2) class because the court

   had separately excluded the plaintiffs’ damages model on Daubert grounds, and the plaintiffs

   conceded that with no damages model, no (b)(3) class could be certified. Id. at 398-99 & n.57. But

   the court’s explanation that all class members were injured by lack of choice is equally applicable to

   Rule 23(b)(2) and (b)(3) classes, because it goes to the issue of classwide injury – a requirement for

   both types of classes and the exact concern raised in that Court’s prior opinion:

           Here, every class member has suffered an injury, because every class member, as a
           consumer in the market for baseball or hockey broadcasting, has been deprived of an
           option—a la carte channels—that would have been available absent the territorial
           restraints (“Injury One”). On top of this general injury, certain class members have
           also suffered the additional injury of having to pay too much for the content they
           wanted (“Injury Two”). . . . Injury One unites the class. The restriction of consumer
           options is an ipso facto antitrust harm, and conversely, the creation of new options is a
           benefit to the market as a whole. This is true for all consumers—even consumers,
           like league-wide fans, who are not interested in new options. . . . Put simply, Injury
           One is universal.

   Id. at 401-02; id. at 400 (“there is no question that here, a common injury exists in the form of

   diminished consumer choice”). As in Laumann, consumers here suffered two injuries: virtually all

   paid higher prices, but all experienced lack of choice due to Celgene’s conduct. Regardless of the
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           It is true that any consumers who purchased Thalomid or Revlimid prior to the start of the

   Consumer Delay class period would have the right to bring their own claim against Celgene.

   However, Celgene cannot explain why a narrower class definition (still encompassing at least

   class members ) would not be “superior to other available methods for fairly and efficiently

   adjudicating the controversy.” Def. Supp. at 16 (arguing that it would not be “fair” or “efficient” to

   certify a class that did not include everyone with a potential claim). 53 But if neither of the proposed

   classes with consumers is certified, as Celgene desires, then all the efficiencies of a class action would

   be eliminated (because all          class members would have to bring separate lawsuits). See In re

   Blood Reagents Antitrust Litig., 2015 WL 6123211, at *35 (E.D. Pa. Oct. 19, 2015) (“If the class were

   not certified, ‘the numerous individual class members would be forced to file suit individually,

   producing numerous identical issues in each case that would waste judicial resources and leave all

   parties vulnerable to unfair inconsistencies.’”) (citation omitted).

           Dr. Leitzinger used nine other oral cancer drugs to derive the generic penetration rates. 54



                                                  . 55



   53
      The unreported Minnesota district court case that Celgene cites, Wenig v. Messerli & Kramer P.A.,
   2013 WL 1176062 (D. Minn. Mar. 21, 2013), has repeatedly been called into question. See, e.g., Bereket
   v. Portfolio Recovery Assocs., LLC, 2018 WL 6266606, at *6 (W.D. Wash. Nov. 30, 2018) (disagreeing
   with Wenig, certifying narrowed class, and holding that “the purpose of the superiority analysis is not
   to define the largest possible class”); Smith v. SIMM Assocs., Inc., 2018 WL 389089, at *4 (E.D. Wis.
   Jan. 12, 2018) (same); Spuhler v. State Collection Servs., Inc., 2017 WL 4862069, at *7 (E.D. Wis. Oct. 26,
   2017) (same). In addition, the case is inapposite: the court criticized plaintiffs’ counsel for filing serial
   separate cases on behalf of “artificially narrowed” classes limited to particular counties to circumvent
   the statutory cap on damages, and explicitly stated that its ruling “is not to say that a proposed class
   must always include all possible class members.” Id. at *6. Further, Ebert v. General Mills, 823 F.3d
   472 (8th Cir. 2016) does not reference narrowed class definitions as Celgene claims.
   54
      See Op. at 6 (citing Leitzinger Decl. at ¶ 63).
   55
      Ex. 145, Excerpts from the May 10, 2018 Deposition of James W. Hughes (“Hughes 2018 Dep.”)
   at 123:21-23, 125:17 (“assuming” that REMS caused the slower generic penetration while admitting
   “I am not forming an independent opinion on whether or not there is a causal relationship” between


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   expense of his victim. See Bigelow v. RKO Radio Pictures, Inc., 327 U.S. 251, 265 (1946) (“The most

   elementary conceptions of justice and public policy require that the wrongdoer shall bear the risk of

   the uncertainty which his own wrong has created.”).

        C. The Court Should Certify the Injunction Class Under Rule 23(b)(2)

           A 23(b)(2) class is appropriate where, like here, the defendant has “acted or refused to act on

   grounds generally applicable to the class.” Op. at 51. The proposed Injunction Class (1) meets the

   requirements of Rule 23(a); 62 (2) is sufficiently cohesive; and (3) is capable of establishing clear class

   parameters as required by Rule 23(c)(1)(B). See Shelton v. Bledsoe, 775 F.3d 554, 563 (3d Cir. 2015).

   Despite Celgene’s suggestions otherwise, “[n]o additional requirements need be satisfied.” Id.

           1. Plaintiffs Have Proposed a Clear Definition of the Injunction Class

           The third prong of a properly defined (b)(2) class is one that “is capable” of complying with

   Rule 23(c)(1)(B). Shelton, 775 F.3d at 563. Rule 23(c)(1)(B) states only that “[a]n order that certifies a

   class action must define the class and the class claims, issues, or defenses.” 63 Plaintiffs have properly

   defined the class claims, issues, and defenses so that this Court can issue a “readily discernible, clear,

   and precise statement of the parameters defining the class” under Rule 23(c)(1)(B). 64 Shelton, 775

   F.3d at 563. The relevant claims, issues, and defenses are limited to those implicated by Plaintiffs’




   62
      The first Shelton prong is not disputed by Celgene, and this Court previously ruled that Plaintiffs
   satisfied Rule 23(a)’s requirements. Op. at 15-19.
   63
      This Court found that the classes are properly defined in the context of its ascertainability analysis,
   and Celgene has never challenged the class definitions. Op. at 42.
   64
      Rule 23(c)(1)(b) is designed to facilitate review of the class certification decision on interlocutory
   appeal and provide notice of the nature of the action to the class. See Wachtel ex rel. Jesse v. Guardian
   Life Ins. Co. of Am., 453 F.3d 179, 188-89 (3d Cir. 2006). An appellate court reviewing a certification
   order needs to know the parameters of the class, but it does not need to know the parameters of the
   relief sought. See generally Report of the Standing Committee on Rules of Practice and Procedure
   (published September 2002). Celgene misconstrues Wachtel, where the court admonished the use of
   ‘inter alia’ in the context of an incomplete list of class issues and claims. Id. at 189. Nowhere in the
   Third Circuit’s analysis does it discuss the relief sought.


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   federal claim under Section 16 of the Clayton Act. 65

           Celgene misapplies the requirements of Rule 65(d), claiming that Plaintiffs need to

   specifically define the injunctive relief sought at the class certification stage. Def. Supp. at 23-25. But

   all that is required at the class certification stage is to “allow the district court to see how it might

   satisfy Rule 65(d)’s constraints.” Shook v. Bd. of Cty. Comm’rs of Cty of El Paso, 543 F.3d 597, 605 n.4

   (10th Cir. 2008) (emphasis added); Processed Egg Prods., 312 F.R.D. at 170 (certification motion should

   allow court to “conceive of an injunction that would satisfy Rule 65(d)’s requirements.”). “[T]his is

   not to say that plaintiffs are required to come forward with an injunction that satisfies Rule 65(d)

   with exacting precision at the class certification stage. If anything, the degree of specificity with

   which plaintiffs must describe the injunctive relief requested becomes more exacting as the litigation

   progresses.” 66 Shook, 543 F.3d at 605 n.4; see also Yates v. Collier, 868 F.3d 354, 368 (5th Cir. 2017)

   (“Rule 23(b)(2) does not require that every jot and tittle of injunctive relief be spelled out at the class

   certification stage; it requires only ‘reasonable detail.’”). 67

           In addition, the anticompetitive conduct detailed in Plaintiffs’ briefing provides reasonably

   particular detail for this Court to conceive of a final injunction order. Plaintiffs even have provided

   specific examples of injunctive relief, explaining that all class members would benefit from an order

   requiring Celgene to delist its REMS patents from the Orange Book or supply samples to generic

   companies within 30 days of request. Celgene’s list of grievances regarding the propriety of these



   65
      Plaintiffs’ opening brief listed the relevant antitrust issues, and this Court recognized that the Rule
   23(a)(2) commonality requirement was satisfied. Pls’ Supp. at 27-28; Op. at 15-16.
   66
      Comparing actual injunction orders to class certification orders reveals why Celgene’s argument
   does not translate in practice. See Appendix A.
   67
      See also S.R., by & through Rosenbauer v. Pa. Dep’t of Human Servs., 325 F.R.D. 103, 112 (M.D. Pa.
   2018) (“Though we agree [] that, if Plaintiffs are successful, they will need to propose, and the Court
   would need to fashion, a specific injunction that gives fair notice to Defendants as to what conduct
   will violate the order, and such construction will be difficult, we disagree that such an injunction is
   impossible and find that the requirements of Rule 23(b)(2) are satisfied.”).


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   meaningful additional benefit to prospective class members in ordering classwide relief.” Def. Supp.

   at 28. Although “the Third Circuit has advised that courts may consider whether class-wide

   treatment is necessary to obtain injunctive relief,” Id. (citing Gayle v. Warden Monmouth Cty. Corr. Inst.,

   838 F.3d 297, 310 (3d Cir. 2016)) (emphasis added), Celgene omits critical qualifying language in

   Gayle that “necessity is not a freestanding requirement justifying the denial of class certification . . . it

   may be considered to the extent it is relevant to the enumerated Rule 23 criteria.” Id. (emphasis

   added). Indeed, Gayle found the district court erred in denying class certification solely on necessity

   grounds, since “necessity is not an express requirement of Rule 23,” and “[t]he circumstances in

   which classwide relief offers no further benefit [] will be rare, and courts should exercise great

   caution before denying class certification on that basis.” Id. at 308, 310. 71

           An antitrust case where the defendant continues to monopolize the market for expensive

   cancer medication is certainly not the rare case where injunctive relief offers no added benefit. The

   consequences of not certifying a class can be significant for those who would otherwise benefit from

   the relief afforded by Rule 23(b)(2). “Where class certification is denied on the ground of necessity,

   yet would-be class members continue to be subjected to injury, their only option may be to

   undertake the expense, burden, and risk of instituting their own litigation—barriers that in many

   cases will be prohibitive.” Id. at 311. 72 Thus, the Injunction Class should be certified.

   III.     CONCLUSION

           Based on the foregoing and in the interest of justice, Plaintiffs’ motion should be granted.




   71
      Celgene’s citation to Gonzalez v. Corning, 885 F.3d 186, 195 (3d Cir. 2018), in which the “sole
   common question . . . was not justiciable” has no application here.
   72
      Indeed, “if class relief will require nothing more of [Celgene] than the relief sought by the
   individual plaintiffs, one wonders why [Celgene] opposes class certification so vigorously . . .
   certification will work to [Celgene’s] benefit if they should prevail. A judgment in their favor would
   bind class members who might otherwise commence a new action challenging the practices at issue
   here.” Montes v. Brezenoff, 85 F.R.D. 130, 132 (S.D.N.Y. 1980).
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